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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                                       CASE NO.: 21-CR-129
       Plaintiff,
vs.

Gabriel Garcia,

       Defendant.
                                               /

             DEFENDANT’S RESPONSE TO PRETRIAL SERVICES’ REPORT

       COMES NOW, the Defendant, Gabriel Garcia, and files his response to the Pretrial

Services’ Report and states the following:

       I.       Pretrial Services neither required nor asked for a precise itinerary to include
                his activities outside D.C., and there is a precedent for this, because they did
                not require he detail his activities outside D.C. during his last Court-
                approved visit to D.C. and the surrounding areas

       Mr. Garcia did not violate any of his pretrial conditions. He did not violate his curfew; he

provided a precise itinerary, according to the stand for itineraries previously provided to Pretrial

Services, and he attended a substantial portion of the United States v. Gossjankowski trial on

March 3, contrary to media reports that all he did was brashly schmooze with J6’ers at the

“Conservative Action Coalition” Conference (“CPAC”) and misled a federal court.

       Critically, Pretrial Services neither required nor asked for a precise itinerary that included

his activities outside D.C., and the Court’s order did not specifically ask for this either;

moreover, there is a precedent for this exact interpretation, because Pretrial Services did not

require a precise itinerary to include his activities while outside D.C., during his last Court-

approved visit to D.C. and the surrounding areas.
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       Therefore, it cannot be said that Mr. Garcia violated the Court’s order to provide his

“precise itinerary” by not stating he was going to CPAC. United States v. Manafort, 897 F.3d.

340 (D.C. Cir. 2018) (reasoning that a court should not punish someone for violating an order if

the terms of that are unclear). In Manafort, the court found that Congress intended for narrow

readings of conditions of release in favor of the accused. Id. at 346. (stating Congress wanted

conditions of release to be: “clear and specific to serve as guide for the person’s conduct.”

(emphasis in original).

       Primarily, Mr. Garcia had requested to travel to the District of Columbia to observe two

J6 jury trials that were occurring: United States v. Gossjankowski, 21-CR-123-PLF, and United

States v. Tarrio, et al., 21-CR-175-TJK; he later requested to also view the bench trial occurring

before the Court that week. As he has done every time he traveled, he provided a precise

itinerary to his pretrial officer stating his exact travel plans, manner of travel, and where he was

staying. Mr. Garcia arrived in Arlington at around 4:15 PM on March 2. Counsel was already

present at the Gossjankowski trial observing the final portion of jury selection.

       Counsel texted Mr. Garcia that it was not worth coming over to the courthouse to merely

observe the final portion of the attorneys and the court pick the jury, as they go through their

peremptory challenges; and that portion is not even audible to court observers. Further, the Court

indicated in its order that its bench trial was stopping at 4 PM on March 2.

       That Mr. Garcia then went to CPAC in Maryland, should be treated no differently than if

he went to a restaurant, church services, or a movie theater in Maryland and posted that on social

media—he was not in D.C. Further, a plain reading of the 8 PM curfew language in the Court’s

order was: the curfew only applied if he was also lodging in D.C. too, which he was not. And

there was a precedent for this interpretation, as this exact issue came up the last time he traveled


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to D.C., pursuant to the Court’s order. Indeed, counsel specifically told his pretrial officer that a

plain reading of the Court’s order from June 2022 was that the curfew only applied if he lodged

in D.C. (See counsel’s email to Pretrial Services at Exhibit 1). When he was out past 8 PM last

summer in Virginia, at no time did Pretrial Services challenge or claim that Mr. Garcia was

violating curfew. Similarly, during his recent trip to D.C. when he was out past 8 PM in

Maryland, his pretrial officer did not claim he was violating the curfew.

       While at CPAC, Mr. Garcia was working on his defense to these charges. Indeed, he

asked Congressman M. Gaetz, who is from Mr. Garcia’s home state, how and when could his

defense team access the 40,000 hours of unreleased video Capitol Police have. Also, he and his

counsel met, and conferred extensively with, attorney Ivan Raiklin, whom they may retain for

assistance and trial preparation. Mr. Raiklin had spoken to Mr. Garcia on March 2 at CPAC, and

he told Mr. Garcia to return the next day with his counsel to discuss at length defense strategies,

which they did. On March 2 and March 3, CPAC’s programs concluded at 5 PM each day; Mr.

Garcia then went to and ate at a nearby restaurant on March 2, and he ate at a restaurant at the

Gaylord Hotel, where CPAC was held, on March 3.

       On Friday, both the Tarrio et al. trial and the bench trial before this Court were not

holding proceedings. Thus, Mr. Garcia and counsel attended the Gossjankoswki trial all morning

and in the afternoon until they broke for lunch. The next day he traveled back to Miami and

checked in with his pretrial officer upon arriving. At no point did she mention that he was in

violation or non-compliance. (See email to Pretrial Services Officer attached as Exhibit 2).

       II.     Mr. Garcia has always substantially complied with the Court’s travel orders
               and his pretrial conditions

       The issue seems to have arisen when the media picked up on his social media postings at

CPAC. Certain media outlets then crafted a narrative that Mr. Garcia came to D.C. to go to

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CPAC and never went to the courthouse, merely saying that as a pretext1. However, he did go to

the courthouse and observed substantial portions of the trial. Importantly, Mr. Garcia has always

complied with his release conditions and travel orders of this Court. Not once has Pretrial

Services accused him of violating any release conditions, violating a curfew, or not providing a

precise enough itinerary In addition, prior to this trip, neither the Government nor Pretrial

Services have filed for a violation of a release condition. The issue seems to arise when he posts

on social media when allowed to travel, and this irks certain media outlets that a J6 defendant is

traveling and posting his way through it2. Undoubtedly, he has tried numerous times to have the

GPS monitor removed by this Court, and the Court has declined each time.

         III.     There is not clear and convincing evidence that Mr. Garcia violated any
                  condition of release under 18 U.S.C. § 3148

         In sum, there is not clear and convincing evidence, as required under § 3148, that Mr.

Garcia violated any release conditions by going to CPAC. See U.S.A. v. Wilks, 15 F.4th 842 (7th

Cir. 2021) (reversing district court for detaining defendant for violation of pretrial release

conditions based on court’s sua sponte determination that defendant was not authorized to go

anywhere he wanted while he was out of town on court-approved trip, where defendant went to


1
  The day before his trip Mr. Garcia posted on social media obvious photoshopped images of him on Donald
Trump’s airplane, claiming he was traveling to D.C. on the plane. Incredibly, in her ongoing crusade to expose and
humiliate Mr. Garcia, Miami New Times reporter Alex DeLuca naively ran with this story about traveling to CPAC
on Trump’s plane as if it was true; the reporter even asked counsel to confirm if Mr. Garcia was traveling in
Trump’s plane to D.C. To which, sensing another yellow-journalistic hit peace was forthcoming, counsel facetiously
replied that he could not confirm because of “security measures.” Amazingly, DeLuca published counsel’s comment
as if it was a serious reply. While the Government suspected his posts might be photoshopped, they claim Mr.
Garcia was still being disingenuous (but as to whom it is unclear, the World Wide Web?) by claiming he was flying
to CPAC. His social media postings were clear fakes; and although his social media posts, generally, may be crass,
obnoxious, brazen, and bad form, Mr. Garcia still has his First Amendment rights to post on the internet. He was not
under any gag order.


2
 The Court’s order specifically prohibited Mr. Garcia from any contact with the defendants of the three trials he was
allowed to observe. There is no allegation that he had any contact with any of them. That he ran into some J6
defendants at CPAC is not a violation of any of his release conditions, and Pretrial Services is not alleging this
violation anyway.
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bar at 2 AM where a murder occurred). More specifically, when a defendant on pretrial release is

alleged to have violated a condition of his release, the Government may move to revoke release

under 18 U.S.C. § 3148 as a sanction for the violation. To revoke and order a defendant detained

after a hearing, the court must find that there is:

                 (A) probable cause to believe that the person has committed a
                Federal, State, or local crime while on release; or
                (B) clear and convincing evidence that the person has violated any
                other condition of release; and
                (2) finds that—
                (A) based on the factors set forth in section 3142(g) of this title,
                there is no condition or combination of conditions of release that
                will assure that the person will not flee or pose a danger to the
                safety of any other person or the community; or
                (B) the person is unlikely to abide by any condition or combination
                of conditions of release.

§ 3148(b) (emphases added). In this regard, there has never been an allegation that Mr. Garcia

poses any danger to the community or is a flight risk. Of course, there is no allegation he

committed any crime while on release. As to his history and characteristics, Mr. Garcia has no

criminal history, served honorably as an officer in the Army, including a tour in Iraq, and has

family and three minor children in the Miami area, where he is actively involved in their daily

lives. See generally United States v. Mattocks, 2022 WL 16635245 (D.D.C. 2022) (considering

18 U.S.C. § 3142 factors in § 3148 proceeding to determine detention).

        Certainly, the Court has the discretion to alter his release conditions. It can place him on

house arrest—full lockdown, prohibit all further travel, or prohibit any travel outside the

Southern District of Florida. Further, the Government has not moved for a violation with the

filing of an affidavit, but of course D.C. Pretrial Services is requesting judicial action by

recommending Mr. Garcia be removed from their supervision. There seems to be a disconnect

between D.C.’s Pretrial Services and Miami’s, because his Miami Pretrial Officer is not the one


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who filed the current violation. Finally, Mr. Garcia submits that at no time did he intend to

violate his release conditions, and counsel further asserts that had he believed any behavior

constituted a violation, he would have advised Mr. Garcia.

       Respectfully submitted,

       /s/Aubrey Webb
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       305-461-1116
       Email: aubrey@aqwattorney.com



                                 CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing was efiled to the
Office of the Clerk, United States District Court, District of Columbia, 333 Constitution Ave.,
N.W. Washington D.C. 20001, Room 1225 and to the Office of the United States Attorney, 555
4th St N.W., Washington D.C. 20530, on March 16, 2023.

       /s/Aubrey Webb




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